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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                       *           CRIMINAL NO. 19-113

           v.                                   *           SECTION: “E” (5)

 MARTHA BUEZO MARTINEZ                          *

                                         *     *   *
                                             ORDER

          Considering the foregoing Motion and Incorporated Memorandum Acknowledging

defendant, MARTHA BUEZO MARTINEZ’s, Acceptance of Responsibility by the United

States;

          IT IS HEREBY ORDERED that, pursuant to U.S.S.G. § 3E1.1(b), the downward

adjustment for defendant, MARTHA BUEZO MARTINEZ, acceptance of responsibility

should be three (3) points.

          New Orleans, Louisiana, this _________ day of July, 2021.




                                              ______________________________________
                                              HONORABLE SUSIE MORGAN
                                              UNITED STATES DISTRICT JUDGE
